






	









IN THE COURT OF CRIMINAL APPEALS


OF TEXAS






NO.  AP-75,290






EX PARTE DATILLO DANIELS, Applicant






ON APPLICATION FOR A WRIT OF HABEAS CORPUS


         CAUSE NO. 01F0548-202-A IN THE 202nd JUDICIAL DISTRICT COURT

 BOWIE COUNTY






	Per Curiam.


O P I N I O N 




	This is a post-conviction application for a writ of habeas corpus forwarded to this
Court pursuant to Tex. Code Crim. Proc.  art. 11.07, § 3, et seq..  Applicant was convicted
of the felony offense of robbery, and punishment was assessed at forty-five years
confinement.  No direct appeal was taken.

	Applicant contends, inter alia, that he was denied his right to appeal.  The trial court
entered findings of fact and conclusions of law recommending that Applicant be granted an
out-of-time appeal.  We agree.  Tex. Code Crim. Proc. art. 26.04 (j) (2), requires appointed
counsel to "represent the defendant until charges are dismissed, the defendant is acquitted,
appeals are exhausted, or the attorney is relieved of his duties or replaced by other counsel". 
The duty to perfect an appeal attaches whether counsel is appointed or retained.  See Ex parte
Axel, 757 S.W.2d 369 (Tex. Crim. App. 1988).  Knowing that Applicant wanted to appeal,
counsel had the duty to timely file a motion for new trial or give timely notice of appeal,
unless relieved by the trial court or replaced by other counsel.

	Habeas corpus relief is granted and Applicant is granted an out-of-time appeal from
his conviction in cause number 01F0548-202-A from the 202nd District Court of Bowie
County.  The proper remedy in a case such as this is to return Applicant to the point at which
he can give notice of appeal.  For purposes of the Texas Rules of Appellate Procedure, all
time limits shall be calculated as if the conviction had been entered on the day that the
mandate of this Court issues.  We hold that Applicant, should he desire to prosecute an
appeal, must take affirmative steps to see that notice of appeal is given within thirty days
after the mandate of this Court has issued.

	Applicant's remaining claims are dismissed.  See Ex parte Torres, 943 S.W.2d 469
(Tex. Crim. App. 1997).

DO NOT PUBLISH

DELIVERED: November 9, 2005


